Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 1 of 18



                                UNITED STATES DISTRICT COLX T
                                SOUTHERN DISTRICT OF FLORIDA
                                  W EST PA LM BEA CH D IVISION

 EUNITED STATES OF AM ERICA,                                     CaseNo.22:-mj-08332-BER-1
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     IN 1kE SEALED SEARCH W ARRANT

                                        N O TICE O F A PPEA L

            PleasetakeNOTICE thattheUndersigned Appealsin theabove captionedm atterto the

     Uzzited StatesCourtofAppealsfortheEleventh Circtlit9om theFinalOrdersand

     M em orandlxm softheDistrictCourtthatdenied the accessto a1lthetmsealed/llnredacted cotlrt

     recordsin the abovereferenced m atter.'Fhisincludesamong otherstheattached,DocketEntries,

     80,94 and 99.

                                             Certificate ofService
            1IIEREBY CERTFFY thaton August30,2022,thisdocumentand filing feewas

     transm itted to theClerk'sOffceusing ExpressM ailE1449 275783;and asresult,necessary

     counselto benotified electrorlically.

     Respectfully subm itted,
     /s/M ichaelS.Barth
     M ichaelS.Barth
     Pro Se
     P.O .B ox 832
     FarHills,New Jersey 07931
     917-628-6145
     D ated August30,2022
Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 2 of 18
 Case 9:22-mj-08332-8ER Document80 Entered on FLSD Docket08/22/2022 Page lof13


                         UNITED STATESDISTRICT COW T
                         SOU TH ERN DISTRICT OF FLORIDA

                                CA SE NO .22-8332-8ER


    IN RE:SEALED SEARCH W ARRAN T

                                               /

                         O RD ER O N M OTION S TO U N SEM I

          On August 8, 2022,the Governm ent executed a search wr rant at 1100 S.

    Ocean Boulevard,Palm Beach,Florida CthePremises').ThePremisesare aprivate
    club thatis also the part-tim e residence ofForm er PresidentDonald J.Trum p.

          Num erousintervenorsClntervenors'')now movetounsealm aterialsrelatedto
    thesearchwarrant.ECF No.17at2.TheIntervenorsareJudicialW atch (ECF No.4),
    Albany Tim esUnion (ECF No.6),TheNew York TimesCompany (ECF No.9),CBS
    Broadcasting,Inc.(ECF No.20),NBcuniversalM edia,LLC d/b/aNBC News,Cable
    N ew s N etwork, Inco,W P Com pany, LLC dlbla The W ashington Post, and E.W .

    Scripps Com pany (ECF No.22),The Palm Beach Post (ECF No.23),The Florida
    Center for GovernmentAccountability,Inc.(ECF No.30),TheM cclatchy Company
    LLC W bla M iam i H erald and Tim es Publishing Com pany W bla Tam pa Bay Tim es

    (ECF No.31),Dow Jones& Company,Inc.(ECF No.32),TheAssociated Press(ECF
    No.33),andA'
               RC,Inc.(ECF No.49).TheGovernm entopposestherequesttounseal.
    ECF No.59.N either Form er PresidentTrum p nor anyone else purporting to be the



    1This Orderm em orializesand supplem entsm y rulingsfrom thebench atthehearing
    on August18,2022.
Case
 l 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 3 of 18
 case 9:22-mj-O8332-BER Document80 Entered on FLSD Docket08/22/2022 Page 2 Of13


    owner of the Prem ises has fzled a pleading taking a position on the Intervenors'

    M otions to U nseal.

                                   BA CK GR O UN D

          0n August 5,2022,the Cottrtissued a search w arrantfor the Prem ises after

    finding probablecause thatevidence ofm ultiplefederalcrim eswotlld be found atthe

    Prem ises Cthe W arranf).An FBISpecialAgent's sworn affidavit Cthe Affidavif')
    provided the factsto supportthe probable cause finding.The Governm entsubm itted

    (1)a CriminalCoverSheet,(2)an Application for W arrantby ElectronicM eans,(3)
    theAfl-
          idadt,(4)aproposedW arrant,(5)aM otion toSeala1lofthedocum entsrelated
    totheApplication andtheW arrant,and (6)aproposed OrdertoSeal(collectively the
    t'W arrantPackage').TheGovernmentasserted there wasgood causeforsealing the
    entire W arrant Package because pubhc disclosure m ight lead to an ongoing

    investigation being com prom ised and/or evidence being destroyed.ECF No.2.The

    M otion to Sealtheentire W arrantPackagew asgranted.ECF N o.3.After the search

    on August 8,2022,the Government filed an inventory of the seized item s (the
    ddlnventor/),as required by FederalRule of CriminalProcedure 41(1)(1)(D).ECF
    N o.21.

          Bebnzzing on August10,2022,thelntervenorsfzled motionstointervene and
    to unseal the entire W arrant Package.0n August 11, the Governm ent m oved to

    unseal(1)theW arrantand (2)a copy oftheInventorythathad been redacted only to
    rem ove the nam esofFBI SpecialA gentsand the FB1case num ber.ECF N o.18.The

    Court granted the Governm ent's M otion to U nsealthese m aterials on August 12,

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Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 4 of 18
 Case 9:22-mj-08332-BER Document80 Enteredon FLSD Docket08/22/2022 Page3 Of13


     2022.ECF N o.41.Those m aterials are now publicly available. Therefore, to the

     extent the Intervenors have m oved to unseal the W arrant and the lnventory,the

     m otions are D EN IED AS M O OT.

 1
 '         On August12,2022,the Governm entfiled undersealredacted copiesofseveral
 I
 i other docum ents f'
 !                   rom the W arrant Package - the Crim inz Cover Sheet, the

     Application for a W arrant by Telephone or Other Reliable Electronic M eans,the

     M otion to Seal,and theSealing Order.ECF N o.57.Thesem aterialsareredacted only

     to concealthe identities of an Assistant UG ted States Attorney and an FBI Special

     A gent.The Governm entdoesnotopposeunsealing theredacted versions.ECF No.59

     at2.TheIntervenorsdonotobjecttothelimitedredactions.Hrg.r
                                                             lar.at8.Ifindthat
     the redactions are appropriate to protect the identity and personal safety of the

     prosecutor and investigator.Therefore,to the extentthe Intervenors m ove to unseal

     these redacted docum ents,their m otions are GRANTED .See ECF No.74.

           A 11thatrem ains,then,is to decide whether the Affidavit should be unsealed

     in whole or in part.W ith one notable exception that is not dispositive,the parties

     agw
       ree aboutthe legalprinciples thatapp1y.2 They disar ee olaly abouthow 1should

     apply thoseprinciplesto the facts.TheGovernm entconcedesthatitbearstheburden

     ofjustifyingwhy the Afsdavitshould remain sealed.Hrg.Tr.at8;scc,e.g.,DiRussa
     v.Dean WitterReynoldsInc.,121F.3d 818,826 (2d Cir.1997).




     2Asdiscussed below ,thepartiesdisag-reewhether a FirstAm endm entrightofpublic
     accessappliesto a sealed search w r rantand related docum ents.
                                             3
Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 5 of 18
 Case9:22-mj-08332-8ER Document80 Entered on FLSD Docket08/22/2022 Page4 of13


                         A PPLICM LE LEGA L PRIN CIPLES

          Itisa foundationalprincipleofAmerican 1aw thatjudicialproceedingsshould
    beopen tothepublic.An individual'srightto accessjudicialrecordsm ay arise from
    the com m on law , the First Am endm ent, or both. Chicçgo I'
                                                                ribune Co.

    Bridgestone/Firestone,Inc.,263 F.3d 1304,1310-12 (11th Cir.2001).Thatrightof
    access is notabsolute,however.N ixon v.W arner Com m c'ns,Inc.,435 U .S.589,597

    (1978).W herea sufficientreason exists,acottrtGlingcan besealedfrom publicview.
           Rrlahecom m on law rightofaccessm ay be overcom e by a showing ofgood cause,

    which requires balancling) the asserted right of access against the other party's
    interestin keeping theinform ation coM dential.''R om ero v.D rum m ond Co.,Inc.,480

    F.8d 1234,1246 (11th Cir.2007)mracketsin oridnal)(quoting Chicago Tribune,268
    F.3d at 1309).In deciding whether good cause exists,Rcourtsconsider,amongother
    factors,whether allowing access would impair colzrtfunctions or harm lebtimate
    privacy interests,the degreeofand likelihood ofinjuryifmadepublic,thereliability
    of the iM orm ation, whether there will be an opportunity to respond to the

    inform ation,whetherthe inform ation concernspublicofficials orpublicconcerns,and

    the availability ofa lessonerous alternative to sealing the docum ents.''R om ero,480

    F.3d at 1246.They alsoconsiderddwhethertherecordsaresoughtforsuch illegitim ate

    purposes astoprom ote publicscandalorgain urlfair com m ercialadvantage,whether

    accessislikely toprom ote publicunderstanding ofhistorically significantevents,and

    whether the press has already been perm itted substantialaccess to the contents of



                                             4
Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 6 of 18
 Case 9:22-mj-08332-8ER Document80 Entered OnFLSD Docket08/22/2022 Page 5 of13


    therecords.''Newman v.Graddick,696F.2d 796,803 (11th Cir.1983)(citingN ixon,
    435U.S.at596-603 & n.11).
          Despite the FirstAm endm entrightofaccess,a docum entcan be sealed ifthere

    is a com pelling governm entalinterestand the denialofaccess is Rnarrowly tailored

 l to serve thatinteresto'' Globe N ewspaper Co.v.Superior Court, 457 U .S.596,606

    (1982).
          The Eleventh Circtzit hasnotresolved whether the First Am endm ent rightof

    access applies to pre-indictm entsearch warrant m aterials.The Governm ent argues,

    tïr
      f'he better view is thatno FirstAm endm entrightto accesspre-indictm entw arrant

    m aterials exists because there is no tradition of public access to cx parte warrant

    proceedings.'' ECF N o.59 at 4 n.3.N evertheless,the Governm ent says that Ineed

    notresolve thisquestion because,even undertheFirstAm endm enttest,acom pelling

    reason existsforcontinued sealing.Id.(citingBennettv.United States,No.12-61499-
    CIV,2013W L 3821625,at*4 (S.D.Fla.Jtlly 23,2013)(J.Rosenbaum).
          1 do not need to resolve whether the FirstAm endm entright ofaccess applies

    here. As a practical m atter, the analyses under the com m on 1aw and the First

    Am endment are m aterially the same.Both look to whether (1) the party seeking
    sealing has a sufficiently im porsant interest in secrecy that outw eighs the public's

    right ofaccess and (2)whetherthere is a lessonerous (or,said differently,a m ore
    narrowlytailored)alternativetosealing.Asdiscussed morefttllybelow,in thiscase,
    both tests lead to the sam e conclusion.



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Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 7 of 18
 Case9:22-mj-08332-8ER Document80 Entered on FLSD Docket08/22/2022 Page6 of13


                                     D ISCU SSION

    7. Balancing theParties'lnterestsn

          The Governm ent argues that unsealing the Affsdavit would jeopardize the
    integrity ofits ongoing crim inalinvestigation.The Governm ent's m otion says,<A s

    the Courtis aw are from its review ofthe afhdavit,itcontains,am ong othercritically

    im portant and detailed itw estigative facts: hièhly sensitive inform ation about
    witnesses,including witnessesinterdewed by the governm ent;specific investigative

    techniques; and inform ation reqllired by 1aw to be kept under seal pursuant to

    FederalRuleofCriminalProcedure 6(e).''ECF No.59 at8.
          Protecting the inter ity and secrecy ofan ongoing crim inalinvestigation is a

    well-recognized com pelling governm entalinterest.See,e.g.,United States v.Valenti,

    987F.2d 708,714 (11th Cir.1993);Bennett,2013W .
                                                  L 3821625,at*4;Patelt7.United
    States, No. 19-M C-81181, 2019 W L 4251269, at *4 (S.D. Fla. Sept. 9, 2019)
    (J.M atthewm an).dd
                      Although manygovernmenta.
                                              lprocessesoperatebestunderpublic
    scrutiny,it takes little imabnation to recognize that there are som e kinds of
    governm entoperations thatwould be totally frustrated ifconducted openly.'' Press-



    3td
      A s the Eleventh Circuithasexplained,findingsin a public order asto the need for
    sealing 'need notbe extensive.Indeed,should a cotu' t say too m uch the very secrecy
    which seahng w asintended to presel've could be im paired.Thefm dingsneed only be
    sufficientfora reviewing cotlrttobeableto determine,in conjunction with a review
    ofthesealed documentsthemselves,whatimportantinterestorintereststhe district
    court found sufficiently compelling to justify the denialofpublic access.'''United
    Statest).Steinger,626 F.Supp.2d 1231,1234 (S.D.Fla.2009)(J.Jordan)(citingand
    adding emphasisto United Statesv.Kooistra,796F.2d 1390,1391(11th Cir.1986)).

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Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 8 of 18
                          Document80 Entered on FLSD Docket08/22/2022 Page 7 Of13



    Enter. Co. v.Superior Court of Cal.for Riverside Cnty.,478 U.S. 1,8-9 (1986).
    Crim inalinvestigations are one such governm ent operation.The Intervenors agree

    that protecting the integrity of an ongoing crim inalinvestigation can,in the right

    case,override the com m on law rightofaccess.H rg.Tr.at28.

          In the context oî an ongoing çrim inal investigation, the legitim ate

    governm entalconcernsincludewhether:(1)witnesseswillbeunwillingtocooperate
    and provide truthfulinformation iftheir identities might be publicly disclosed;(2)
    law enforcem ent'sability tousecertain investigativetechniquesin the future m ay be

    compromised ifthese teclm iques become known to the public;(3)there willbe an
    increased risk of obstruction of justice or subornation of perjury if subjects of
    investigation know the investigative sources and methods'
                                                            ,and (4)ifno chargesare
    ultim atelybrought,subjectsoftheinvestigation willsufferreputationaldamage.See
    DouglasOilCo.ofCal.rJ.PetrolStopsNw.,441U.S.211,219n.10(1979)(discussing
    importance ofsecrecy to grandjuvy investigations)(quoting United Statesv.Procter
    (: Gam ble,356 U.S.677,681-82 n.6 (1958)).M ost of the cases discussing these
    principlesarise in the grandjury setting.Scc,c.g.,Scc.(î Exch.Comm 'n 5.Drcsscr
    Indus.,Inc.,628 F.2d 1368,1382 (D.C.Cir.1980) (Grand jury secrecy ftserves to
    protecttheidentitiesofwitnessesorjm ors,thesubstanceoftestim ony,thestrategy
    or direction ofthe investigation,the deliberations or questions ofjurors,and the
    like.'');seealsoPitch !J.United States,953F.3d 1226,1232(11th Cir.2020)(discussing
    Gvitalpurposes''for grand jury secrecy).The sam e concerns also apply to a pre-
    indictm ent search w arrant.Atthe pre-indictm ent stage,the Governm ent's need to
Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 9 of 18
 Case 9:22-mj-08332-BER Document80 Entered on FLSD Docket08/22/2022 Page 8 of13


    concealthe scopeand direction ofitsinvestigation,asw ellasitsinvestigative sources

    and methods,isatitszezlith.Blalock v.United States,844F.2d 1546,1550n.5 (11th
    Cir.1988)CThecourts'concern for g'
                                     rand jury secrecy and for the g'
                                                                    randjury's1aw
    enforcem ent function is generi ly greatest during the investigative phase of grand

    jury proceedings.'')(quoting S.Beale & W .Bryson,Grand Jury Law tfrPractice j
    10:18 (1986:.M aximizing the Government's access to untainted factsincreases its
    ability tom akea fully-inform ed prosecutivedecision whilealsom inim izing theeffects

    on third parties.

          As the Governm ent aptly noted at the hearing, these concerns are not

    hr otheticalin this case.One ofthe statutes for which Ifound probable cause was

    18U.S.C.j 1519,wllich prohibitsobstructing an investigation.Also,assom eofthe
    raedia Intervenors have reported,there have been increased threats against FBI

    persozmelsincethesearch.ECF No.59at8n.5(citingnewsarticlesaboutthreatsto
    1aw enforcem ent);scc,c.g.,Josh Cam pbell,eta1.,FBIInvestigating 'Unprecedented'
    Num berof TltreatsAgainstBureau in WfcàcofM ar-a-Lago Search,CNN.COM (Aug.
    13, 2022), httpsi//w w.cnn.coo zozz/o8/lz/politics/l i-threats-maralago-trump-
    search/index.html;Nicole Sganga,FBIand DHS W'
                                                cr?zOJIncreased Threatsto Law
    Enforcement and Government Officials After M ar-a-lago Search,, CBSNEWS.COM
    (Aug. 15, 2022), https://wwwocbsnews.com/news/mar-a-lago-search-l i-threat-law-
    ezlforcem ent/.An arm ed m an attem pted to infiltrate the FBI Office in Cincinnati,

    Ohio on August 11,tllree days A ter the search.Elisha Fieldstadt,etal.,Arm ed M an

    W'/lo wasatCapitolon Jan.6isFatally ShotAfterFiring intoan FBIField Office in

                                             8
Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 10 of 18
 Case 9:22-mj-08332-BER Document80 Entered On FLSD Docket08/22/2022 Page 9 Of13



     Cincinnati, NBCNEWS.COM (Aug. 11, 2022), https://-         .nbcnews.coo news/us-
    news/arm ed-m an-shoots-l i-cincG nati-building-nail-> n-fees-leai ng-inters-rcna4z

    669.After the pubhc release of an unredacted copy of the lnventozy,FBI agents

    involved in this investigation were tllreatened and ham ssed.Alia Shoaib,A n Ex-

     Trump Aide and Right-wing Breitbart News H ave Been Separately Accused of
    Doxxing (sicltheFBlAgentsInvolved in theM ar-a-LagoRaid,BUSINESSINSIDER.COM
    (Aug.13,2022),https'
                       .//www.businessinsider.coe reitbaA -trum p-i de-doxxing-m ar-
    a-lago-raid-l i-agents-zozz-8.Given the public notoriety and controversy aboutthis

    search,itislikely thateven witnessesw ho are not expressly nam ed in the M fidavit

    would be quickly and broadly identified over socialm edia and othercom m unication

    channels,w hich could lead to them being harassed and intim idated.

          Balancing the Governm ent's asserted com pelling need for sealing againstthe

    public'sinterestin disclqsure,Igive greatweighttothe following factors:

                'rhere is a significant likelihood that unsealing the Affidavit

          would harm legitim ate privacy interests by directly disclosing the

          identity ofthe affiantas wellas providing evidence thatcould be used

          to identify witnesses.As discussed above,these disclosures could then

          impede the ongoing investigation through obstruction ofjustice and
          witness intim idation or retaliation. This factor weighs in favor of

          sealing.

             * The Affidavit discloses the som ces and m ethods used by the

          Governm entin its ongoing investigation.1 agree with the Governm ent

                                             9
Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 11 of 18
 Case 9:22-mj-08332-BER Document80 Entered on FLSD Docket08/22/2022 Page 10 Of13


          that the Affidavit dfcontains, am ong other critically im portant and

           detailed investigative facts: llighly sensitive inform ation about

          witnesses,including witnessesinterviewed by the governm ent;specific

          investigative techniques;and inform ation required by 1aw to be kept

          undersealpursuantto FederalRuleofCriminalProcedure 6(e).'' ECF
           No.59 at 8.D isclosure of these facts would detrim entally affect this

           investigation and future investigations.This factor weighs in favor of

           sealing.

              * The Affidavitdiscussesphysicalaspectsofthe Prem ises,which is

           a location protected by the United States Secret Service.Disclosure of

           those details could affect the Secret Service's ability to carry out its

           protective function.This factor weighsin favor ofsealing.

              @ As the Governm ent concedes,this W arrant involves Gm atters of

           significnnt public concern.'' ECF N o.59 at 7.Certaizzly,unsealing the

           Affidavitwould prom otepublic understanding ofhistorically significant

           events.This factorw eighsin favorofdiscb sure.

           The lntervenors em phasize thatthe Courtis required to consider ifthe press

     has ddalready been perm itted substantial access to the contents of the records.''

     N ewm an,696 F.2d at803.TheGovernm entacknowledgesthattheunsealed W arrant

     and Inventory already disclose Sdthe potential crim inal statutes at issue in this

     investigation and the general natttre of the item s seized, including docum ents

     m arked as classified.'' ECF No.59 at 7.0ne Intervenor argtzes that no privacy

                                              10
Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 12 of 18
 Case 9:22-mj-08332-BER Document80 Entered On FLSD Docket08/22/2022 Page 11Of13
  :


      interestrem ains because ''
                                N1r.Trum p and his counselhave spoken repeatedly about

      thegovernm ent'ssearch and publicly disclosedinformation aboutthe alleged subject
      m atter ofthe w arrant,including the potentialm ishandling ofclassified docum ents
  : and violations ofthe PresidentialRecordsAct.,, ECF N o.32 at 5.Another citesthe

      G overnm ent's statem entin itsM otion toU nsealthe W arrantthatdfthe occurrence of

      the search and indicationsofthe subjectmatter involved are already public.'' ECF
      No.22 at7 (citing ECF No.18 at3).A third argues:
            The investigation has been m ade public by the target ofthe warrant
            him self, details of the investigation have appeared in publications
  ,         throughout the world,m em bers of Congress have dem anded that the
            Justice D epartm ent provide an explanation,and politicalcom m entary
            on the search continues unabated. In short, with so m uch publicity
            surroundingthe search,the Coul'tshouldbe skepticalaboutgovernm ent
            claim s that disclosure of this true inform ation will invade privacy,
            disturb the confidentiality of an investigation, tip off potential
  ,         witnesses,orlead to the destruction ofevidence.

  ' ECF No.8 at 8-9.No one disputes thatthere hasbeen m uch public discourse about
  I
  l
  I thisW arrantand therelated investigation.ECF No.67 at7-9 (summ arizing issues
  l
  !
      ofpublicdiscussion).Nevertheless,much oftheinform ation beingdiscussed isbased
  I
      on anonym ous sources,speculation,or hearsay;the Governm enthas notconfirm ed

  ' its accuracy.
  l
            In any event,these argum entsignore thatthe contentsofthe Affidavitidentify

      notjustthefactsknown to the Government,butthe sourcesand methods (i.e.,the
      witnesses and the investigative techniques) used to gather those facts. That
      inform ation is not know n to the public. For the reasons discussed above, the

      Governm enthas a com pelling reason notto publicize thatinform ation atthistim e.
  !

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Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 13 of 18
 Case 9:22-mj-08332-BER Document80 Enteredon FLSD Docket08/22/2022 Page 12 Of13


               1 do not give m uch w eight to the rem nining factors relevant to whether the

      com m on law right ofaccess requires unsealing of the Afsdavit.&ecR om ero,supra;

      N ewm an,supra.Allowing access to the unredacted Afsdavitwould notim pair court

      functions.H aving carefully review ed the Affidavitbefore signing theW arrant,Iwas
  '
      -     and am - satisfied thatthe facts sw orn by the affiant are reliable.So,releasing

      the Affidavit to the public would not cause false inform ation to be dissem inated.

      There is no indication that the lntervenors seek these records for any illegitim ate

      PurPOSe.

               Afterw eighing allthe relevantfactors,lfm d thatthe Governm enthasm etits

      burden ofshow ing good cause/a com pelling interestthatoverridesany publicinterest

      in unsealing thefullcontentsofthe Affidavit.

      2. N arrowly Tailoring/LeastOnerousAlternatives
  :
  '             Im uststillconsider whetherthere isa lessonerous alternative to sealing the

      entire docum ent.The Governm ent arguesthatredacting theAffidavitand unsealing

      it in part is not a viable option because the necessary redactions ffwould be so

  ( extensive asto renderthe documentdevoid ofcontentthatwotzld meanindully
  I
  '   enhance the public'sunderstanding ofthese events beyond the inform ation already

      now in the public recordo'' ECF N o.59 at 10;scc also Steinger,626 F.Supp.2d at

          1237(redactionsnotfeasiblebecausetheywotlldf%esoheavyastom akethereleased
      versionsincomprehensibleandunintelligiblel).Icannotsay atthispointthatpartial
      redactionswillbe so extensive thatthey w illresultin a m eaningless disclosure,but

          Im ay ultim ately reach thatconclusion afterhearing fttrther from the Governm ent.
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 I                                                12
Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 14 of 18
                           Docum ent80 Entered on FLSD Docket08/22/2022 Page 13 Of13



           The Governm ent argues that even requiring it to redact portions of the

    Affidavitthatcould notrevealagentidentitiesor investigative sources and m ethods

    im poses an undue burden on its resources and sets a precedent that could be

     disruptive and burdensom e in future cases.I do not need to reach the question of

     whether,in someothercase,theseconcernscouldjustify denyingpublicaccess;they
    very wellm ight.Particularly given the intense public and llistoricalinterest in an

    unprecedented search ofa form er President'sresidence,the Governm enthas notyet

     shown thattheseadministrativeconcernsaresllfGcienttojustify sealing.
           IthereforerejecttheGovernment'sargumentthatthepresentrecordjustifies
    keeping the entire AfGdavitunder seal.In its Response,the Governm entasked that

     Igive it an opportunity to propose redactionsif1declined to sealthe entire Affidavit.

     I granted that request and gave the Governm ent a deadline ofnoon on Thursday,

    August 25, 2022. ECF N o.74.Accordingly, it is hereby ORD ERED that by the

     deadline,the Governm ent shall fl
                                     'le under seal a subm ission addressing possible

     redactions and providing any additional evidence or legal argum ent that the

     Governm entbelievesrelevantto the pending M otionsto Unseal.

           D O N E and OR DE RED in Cham berstllis22nd day ofAugust,2022,atW est

     Palm Beach in the Southern DistrictofFlorida.




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  t  9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 15 of 18
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                            U N ITED STATES DISTRICT COU RT
                            SOU TH ERN DISTRICT OF FLORIDA

                                   CASE N O. 22-8332-8ER


  J IN RE:SEAT,ED SEARCH W ARRAN T

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                                    O R DER TO UN SEAL
  1         I have reviewed the Governm ent,s m em orandum of law and proposed

  : redactions to the search warrant Am davit. ECF No.89. I am fazlly advised in the

  .   entire record,including thecontentsoftheAffidavit.

            1.    Ifind thatthe Governm enthas m etitsburden ofshowing a com pelling

  : reason/goodcausetosealportionsoftheAffidavitbecausedisclosurewould reveal(1)
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  I the identities ofw itnesses,1aw enforcem ent azents,and tm charRed parties,(2) the
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      investigation's strategy,direction,scope,sources,and methods,and (3) grand jury
      inform ation protected by Federal Rule of Criminal Procedure 6(e). As further
  i   explanation for this fi
                            nding, I incorporate by reference m y Order on M otions to

      Unseal. ECF No.80;scc also United States v.Kooistra,796 F.2d 1390,1391 (11th
      Cir. 1986) (findings must be Rsufficient foz' a reviewing court to be able to
  5
      determine,in conjunction with a review ofthe sealed documents themselves,what
      im portant interest or interests the district court found sttfsciently com pelling to

      justify thedenialofpublicaccessl).
            2.     Based on m y independentreview ofthe Affidavit,Ifurtherfind thatthe

      Governm enthasm etitsbttrden ofshowing thatitsproposed redactionsarenarrow ly

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Case
  t 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 16 of 18
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      Case 9:22-mj-08332-BER Document94 Entered on FLSD Docket08/25/2022 Page 2Of2


        tailored to servethe Governm ent's legltim ate interestin the integrity ofthe ongoing

        investigation and are theleastonerous Z ternative to sealing theentire Affidavit.

              W H EREFORE,itis ORDERED that:

              1. TheIntervenors'M otion to Unseal(ECF No.4jisGRANTED IN PART.
              2. 0n or before noon Eastern tim e on Friday, August 26, 2022, the

                  Governm ent shall flle in the public docket a version of the Affidavit
  )                                                                                         '
  i               containing the redactionsproposed in ECF N o.89-1.
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              D ON E and O RD ERED in Cham bersthis25th day ofAugust,2022,atW est

        Palm Beach in the Southern DistrictofFlorida.



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Case 9:22-mj-08332-BER Document 108 Entered on FLSD Docket 09/01/2022 Page 17 of 18
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                                   CASE N O .22-* -8332-8ER


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                                      ORDFR TO UN SEAL

            The U nited States ofA m erica,having applied tb this Courtforan O rderunsealing the

   N oticeofFiting ofRedacted M em orandum ,and the Courtfm ding good cause:

           IT IS IV REBY ORD EM D thattheN otice ofFiling ofRedacted M em orandum and

   the accompanying attachm ent,along with allassociated m odonsto sealand ordersto seal,

      DocketEntries88,92,96,97,98,and 98-1,shallbetm sealed.
            D ONE AN D ORD ERED in cham bersatPalm Beach County, Florida,tllis26th day

      ofAugust,2022.




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